1    LARS T. FULLER (No. 141270)
     SAM TAHERIAN (No. 170953)
2    THE FULLER LAW FIRM, P.C.
     60 No. Keeble Ave.
3    San Jose, CA 95126
     Tel: (408)295-5595
4
     Attorneys for Debtor
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                                       U.S. BANKRUPTCY COURT
8
                                NORTHERN DISTRICT OF CALIFORNIA
9
                                           SAN JOSE DIVISION
10
     In re:                                              Case No.: 20-50469-SLJ
11
                                                         CHAPTER 11
12
                                                         AMENDED NOTICE OF HEARING ON
13
     MORDECHAI KOKA                                      MOTION FOR TRANSFER OR ESTATE
14                                                       FUNDS FOR A RETAINER
                    Debtor
15                                                       Date:     June 9, 2021
                                                         Time:     2:00 PM
16                                                       Court:    Telephonic or Video Only***

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     TO:      ALL CREDITORS AND THE OFFICE OF THE UNITED STATES TRUSTEE
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              PLEASE TAKE NOTICE that a hearing on Debtor’s motion for transfer of estate funds
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     for a retainer will be heard on June 9, 2021 at 2:00 PM before the Honorable Stephen Johnson.
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     The hearing will not be held in Courtroom 9 but rather will be held by telephone or video.
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              This motion is based on this Notice, the Motion for Transfer of Estate Funds for a

25   Retainer, and the Memorandum of Points and Authorities filed in support of the motion, the

     Declaration of Attorney in Support of the motion and the entire court file in this matter.


                AMENDED NOTICE OF HEARING ON MOTION FOR TRANSFER OF ESTATE FUNDS FOR A RETAINER
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1           All interested parties should consult the Bankruptcy Court’s website at
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     www.canb.uscourts.gov for information about court operations during the COVID-19 pandemic.
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     The Bankruptcy Court’s website provides information regarding how to arrange a telephonic or
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     video appearance. If you have any questions regarding how to appear at a court hearing, you may
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     contact the Bankruptcy Court by calling 888-821-7606 or by using the Live Chat feature on the
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     Bankruptcy Court’s website
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                   This motion is brought pursuant to BLR 9014-1(b)(2)
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            Your opposition to the motion, if any, should be filed at least 7 days prior to the
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10   scheduled hearing date.

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12   Dated: May 10, 2021

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                                                      THE FULLER LAW FIRM, P.C.
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                                                          By: /s/ Lars T. Fuller _
                                                                  Lars T. Fuller
17                                                          Attorney for Debtor

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               AMENDED NOTICE OF HEARING ON MOTION FOR TRANSFER OF ESTATE FUNDS FOR A RETAINER
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